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                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

 BLACK MAGIC, LLC d/b/a BLACK     ) C/A No.: 2:20-cv-1743-BHH
 MAGIC CAFE, on behalf of itself and all
                                  )
 others similarly situated,       )
                                  )
                 Plaintiff,       )
                                  )    RESPONSE TO TWIN CITY FIRE
       v.                         ) INSURANCE COMPANY’S MOTION TO
                                  )     DISMISS NATIONWIDE CLASS
 THE HARTFORD FINANCIAL SERVICES )              ACTION CLAIMS
 GROUP,    INC.; HARTFORD    FIRE )
 INSURANCE COMPANY; and TWIN CITY )
 FIRE INSURANCE COMPANY,          )
                                  )
                 Defendants.      )
                                  )

        Plaintiff Black Magic, LLC d/b/a Black Magic Café, on behalf of itself and all others

similarly situated, (“Black Magic”) hereby responds to Defendant Twin City Fire Insurance

Company’s (“Twin City”) Motion to Dismiss Nationwide Class Action Claims. [Dkt. No. 16].

        Black Magic consents to narrowing the scope of its proposed class to a South Carolina, state-

wide class at this time. Black Magic’s eventual Motion for Class Certification will be limited to a

South Carolina, state-wide class. Black Magic anticipates filing a Motion to Amend the Amended

Complaint of record to similarly narrow the proposed class to a South Carolina, state-wide class.

        Except as expressly stated herein, nothing contained herein shall be deemed to constitute a

waiver of any kind regarding Black Magic’s or the putative class’s claims, interests, or rights

regarding the matters at issue in this litigation.



                     [SIGNATURE BLOCK APPEARS ON NEXT PAGE]




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                                        Respectfully submitted,

                                        McCULLOUGH KHAN, LLC


                                        s/Ross A. Appel
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July 28, 2020
Charleston, South Carolina




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